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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISON

 ADAM COMMUNITY CENTER, a
 domestic nonprofit corporation, a/k/a
 ADAM COMMUNITY (ACC), a
 Domestic nonprofit corporation,

        Plaintiff,                            Case No: 18-13481
                                              Hon. Nancy G. Edmunds
 v.

 CITY OF TROY, A Michigan municipal
 Corporation, TROY CITY COUNCIL, CITY
 OF TROY PLANNING COMMISSION,
 CITY OF TROY ZONING BOARD OF
 APPEALS, and DANIEL AGAUAS, GLEN
 CLARK, THOMAS DESMOND, DAVID
 EISENBACHER, ORESTIS KALTSOUNIS,
 PADMA KUPA, JAMES
 MCCAULEY, in their official Capacities as
 Members of the TROY ZONING
 BOARD OF APPEALS,

        Defendants.
  CAIR-MI                        Lori     Grigg    Bluhm    THOMAS MORE LAW CENTER
  By: Amy V. Doukoure (P80461)   (P46908)                   BY: Richard Thompson (P21410)
  Attorney for Plaintiff         Allan T. Motzny (P37580)   Attorney for Defendant Glenn Clark
  1905 S. Haggerty Rd. Suite     Attorneys for Defendants   24 Frank Lloyd Wright Drive
  105                            500 W. Big Beaver road     P.O. Box 393
  Canton, MI 48188               Troy, MI 48084             Suite J-3200
  (248) 559-2247 Phone           (248) 524-3220             Ann Arbor, MI 48106
  (248) 559-2250 Fax             Bluhmlg@troymi.gov         (734) 827-2001
  adoukoure@cair.com                                        rthompson@thomasmore.org

      PLAINTIFF’S MOTIN FOR RECONSIDERATION OF THS COURT’S
       ORDER ON INDIVIDUAL DEFENDNTS MOTION FOR SUMMARY
         DISPOSITION AS TO DEFENDANT GLENN CLARK ONLY



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         NOW COMES, Plaintiff, ADAM COMMUNITY CENTER, by and

 through its counsel, CAIR-MI LEGAL FUND, by Amy V. Doukoure, and in

 support of its Motion for Reconsideration avers as follows:

     1. Plaintiff’s filed their Complaint alleging inter alia civil rights violations

 made by the individual members of the City of Troy’s Zoning Board of

 Appeals and to that end, Individual Defendant Glenn Clark.

     2. Defendant’s filed a Motion to Dismiss as their first response, which

 ultimately failed after hearing with this Court.

     3. Plaintiff’s submitted Discovery Requests of all Defendants including

 each named Individual Defendant and more specifically Defendant Glenn

 Clark, and each Individual Defendant submitted a response to those

 requests.

     4. Individual Defendants filed a Motion for Summary Judgement, oral

 argument was held, and this Court issued its written Order and Opinion on

 August 26, 2020 granting both the collective Individual Defendants’ and

 Glenn Clark’s Motion for Summary Disposition, stating that there was not

 enough evidence of individual animus towards Plaintiff or the religion of Islam

 to make the Individual Defendant’s Personally liable.1


 1
  Originally all of the Individual Defendants were represented by the city Attorneys, however Defendant Glenn
 Clark during the course of litigation hired a separate attorney and therefore filed his own motion for summary
 disposition while the remaining individual Defendants continued to be collectively represented by the City of Troy
 Attorney.

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    5. After the Individual Defendants filed their Motions for Summary

 Disposition, but prior to this Court issuing its Order and Opinion, new

 evidence of Defendant Clark’s actual bias against the religion of Islam.

    6. It is based on this new information and evidence that Plaintiff’s are filing

 this instant Motion for Reconsideration pursuant to Federal Rules of Civil

 Procedure Rule 59(e) and Local Court Rule 7.1(h).

    7. Plaintiff relies on the facts and law as stated more fully in its Brief in

 Support of its Motion for Reconsideration.

    WHEREFORE, Plaintiff respectfully prays this Honorable Court:

       A.    Reconsider its Order on Defendant Glenn Clark’s Motion for

 Summary Dispostion;

       B.    Issue an Order that Defendant Glenn Clark shall be required to

  Defend this instant Matter;

       C.    Grant Any further relief this Court deems just and equitable.




 Dated: September 9, 2020                                Respectfully
 Submitted,


                                                   /s/ Amy V. Doukoure
                                                   Amy V. Doukoure (P80461)
                                                   CAIR-MI Legal Fund
                                                         Attorney for Plaintiff


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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISON

 ADAM COMMUNITY CENTER, a
 domestic nonprofit corporation, a/k/a
 ADAM COMMUNITY (ACC), a
 Domestic nonprofit corporation,

       Plaintiff,                            Case No: 18-13481
                                             Hon. Nancy G. Edmunds
 v.

 CITY OF TROY, A Michigan municipal
 Corporation, TROY CITY COUNCIL, CITY
 OF TROY PLANNING COMMISSION,
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 APPEALS, and DANIEL AGAUAS, GLEN
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 EISENBACHER, ORESTIS KALTSOUNIS,
 PADMA KUPA, JAMES
 MCCAULEY, in their official Capacities as
 Members of the TROY ZONING
 BOARD OF APPEALS,

       Defendants.



 PLAINTIFF’S BRIEF IN SUPPORT OF ITS MOTION FOR RECONSIDERATION THIS
   COURT’S ORDER ON INDIVIDUAL DEFENDANT’S MOTION FOR SUMMARY
                  DISPOSITION AS TO GLENN CLARK ONLY




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                TABLE OF MOST CONTROLLING AUTHORITY
                    TABLE OF MOST CONTROLLING AUTHORITY


 CASE LAW

 Anderson, 477 U.S. at 252

 Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)

 Howard v. Magoffin Co. Bd. of Educ., 830 F.Supp.2d 308, 319 (E.D.Ky.2012)

 Matsushita, 475 U.S. at 587

 Thorpe v. Breathitt Cty. Bd. of Educ., 8 F. Supp. 3d 932, 948 (E.D. Ky. 2014)



 COURT RULES

 Federal Rules of Civil Procedure 59(e)

 Local Court Rule 7.1(h)




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                   STATEMENT OF ISSUE PRESENTED



 1. Should the Court Reconsider the Decision to Grant Defendant Glenn
    Clark’s Motion for Summary Disposition When Defendant Glenn Clark
    Twice Withheld Documents Responsive to Requests from Plaintiff and
    Those Documents Present Sufficient Evidence of His Biases Against
    Plaintiff’s as well as Evidence his Scheme to Act on Those Biases in a
    Manner that Violated Plaintiff’s Rights and the Law?


    Plaintiff Answer’s: Yes




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                              STATEMENT OF FACTS


       A. General Procedural Facts

       This matter has come before the Court as a result of Plaintiff’s

 Complaint against the above named Defendants alleging religious

 discrimination in violation of the U.S. Constitution as well as violations of the

 Federal Religious Land Use and Institutionalized Persons act as set forth

 more fully in their Complaint.

       Discovery has concluded and the Individual Defendants filed a Motion

 for Summary Disposition, this Court heard oral arguments in March 2020 and

 issued its written Order and Opinion granting the Individual Defendant’s

 Motions on August 26, 2020. See Exhibit A. Plaintiff’s did not file their own

 Motion for Summary Judgement. Plaintiff’s Motion for Reconsideration of

 that August 26, 2020 Opinion and Order timely files and seeks relief only

 from the Order as it pertains to Defendant Glenn Clark.

       This Court’s Opinion and Order states as its reason for granting

 Defendant Clark’s Motion for Summary Disposition, that there is insufficient

 evidence as to his personal bias against Muslims for him to be personally

 liable for discrimination.

       B. Facts Related to the Need for Reconsideration by the Court



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       i.    Defendant Clark Failed to Turn Over Responsive Documents
             During Discovery That Clearly Indicate his Bias Against Muslims

       Plaintiff conducted diligent discovery in this matter as it relates to Glenn

 Clark, and requested several responsive documents from Defendant Clark

 including but not limited to any and all emails that he may have had in his

 possession and control that discussed or mentioned the application for

 variance which is the subject of this instant litigation. See Exhibit B (request

 number 6). Defendant Clark filed his sworn response to Plaintiff’s request

 alleging that he indeed had no responsive emails in his possession to

 Plaintiff’s request and turned over only those documents which are part of

 the ZBA Hearing Package. See Exhibit C.

       Plaintiff further noticed a deposition to Defendant Clark where it again

 sought emails and other documents related to or discussing the ZBA

 variance application, and hearing that is at issue in this instant litigation. See

 Exhibit D. However, Defendant Clark appeared at his deposition without a

 single document or piece of paper and claimed at the Deposition that no

 documents or emails regarding the Plaintiff’s application or hearing existed

 except for the email which would have been from the City containing the

 hearing agenda and packet. See Exhibit E (Deposition Clark in Adams Case

 Pg. 9 Ln. 14-17).



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          However, at Defendant Glenn Clark’s deposition pursuant to the

 Companion case concerning this very same manner, Defendant Clark turned

 over an email that was clearly responsive to both the Plaintiff’s Request for

 Production and the Deposition Notice. See Exhibit F2. Defendant Clark, in

 that deposition alleges that he obtained this email from a concerned citizen

 that he knew from his political work, and that it was unsolicited. See Exhibit

 G, Deposition of Defendant Clark in the companion case Pg. 86 Ln.10- Pg.

 87 Ln.11 )

          Generally, the email expresses Islamophobic tropes, is accompanied

 by a book written specifically with the intent to help municipalities like the city

 of Troy utilize zoning to keep Mosques out of the city as well as being

 intended to be a resource to advise attorneys as to how to defeat RLUIPA

 and other lawsuits from Mosques who assert their rights to a place of

 worship. See Generally Exhibit F. The author clearly shares an interest with

 Defendant Clark of stopping any mosque from being built in the city of Troy

 as it calls on Defendant to “keep up the good work,” and talks about how

 much they “appreciate” Defendant Clark. Exhibit F.



 2
   The Department of Justice has also sued the city of Troy alleging violations of RLUIPA. Defendant Clark is not
 named in that suit but sat for a deposition on August 10, 2020. This document which was produced during that
 deposition clearly should have been turned over in discovery as it was responsive to our requests. What is even more
 egregious is that this document was clearly sent to the city attorney who had knowledge of the email, yet it wasn’t
 turned over by the City in its responsive documents to the Plaintiff’s discovery request despite the Plaintiff having
 requested documents of this nature.

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         The forward of the book is written by Frank Gaffney Jr. who was the

 President and CEO of the Center for Security Policy. The Southern Poverty

 Law center calls the Center for Security and Policy an Anti-Muslim think tank

 and calls Frank Gaffney an extremist and one of America’s most notorious

 Islamophobes. See Exhibit H. Frank Gaffney Jr. is also known for holding

 and creating anti-Muslim conspiracy theories.3

         ii.      Defendant Clark Hires an Islamophobic Law Center to Defend
                  Him Against Allegations that he Discriminated Against Muslims

         Defendant Clark retained the Thomas Moore Law Center as his council

 and retained them for the purposes of representing him at the Deposition

 with the Department of Justice. The Thomas Moore Law Center has as one

 of its key missions as “confronting the threat of radical Islam.”4 The

 information on the Thomas Moore Law Center’s website, along with many of

 the litigation they’ve engaged in echo the Islamophobic sentiments of Frank

 Gaffney Jr.5

         Defendant Clark’s attorney went on a rant against Plaintiff’s counsel at

 Defendant Clark’s deposition on August 10, despite the fact that Plaintiff’s

 counsel was not on the record, nor had the ability to defend herself or her

 organization. DOJ Dep. Clark. Pg. Ln. Many of what counsel for Defendant


 3
   See generally https://en.wikipedia.org/wiki/Frank_Gaffney
 4
   See generally https://www.thomasmore.org/key_issue/confronting-the-threat-islam/
 5
   Id.

                                                        4
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 Clark said is unsubstantiated fodder, all of it unrelated to CAIR-Michigan

 and much of it echoing Islamophobic conspiracy theories found on their

 website. DOJ Dep. Clark Pg. 153 Ln. 5- Pg. 154 Ln. 3. Furthermore, Counsel

 for Defendant makes false statements regarding his “refraining from making

 comments about CAIR while [Plaintiff’s] counsel was deposing [his] client”

 when in fact he, nor anyone from Thomas Moore Law Center was

 representing Defendant Clark at that time, nor were they present during the

 deposition.6

                                         LEGAL STANDARD

         I.       Standard for Motion for Reconsideration

         Federal Rules of Civil Procedure 59(e) allows a Party to seek relief

 from a final judgement or order. Local Court Rule 7.1(h) permits a motion for

 reconsideration within 14 days of the entry of an Order or judgement.

 Pursuant to 7.1 (h)(3) a court may grant a movant’s motion for rehearing or

 reconsideration when there is a demonstration of “palpable defect by which

 the court and the parties and other persons entitled to be heard on the motion

 have been misled but also show that correcting the defect will result in a

 different disposition of the case.”




 6
  See generally, Defendant Clark’s 2019 Deposition Transcript cover page detailing who was present and which
 counsel was representing each party.

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       Motions to reconsider are evaluated under the same standard as a

 motion to alter or amend a judgment under Rule 59(e). Howard v. Magoffin

 Co. Bd. of Educ., 830 F.Supp.2d 308, 319 (E.D.Ky.2012) (citing Keith v.

 Bobby, 618 F.3d 594, 597–98 (6th Cir.2010)). In order to succeed on a

 motion for reconsideration the movant cannot rely merely on rearguing the

 same facts or legal issues. Instead the movant must show one of the

 following: “(1) a clear error of law; (2) newly discovered evidence; (3) an

 intervening change in controlling law; or (4) a need to prevent manifest

 injustice.” Id. (quoting Leisure Caviar, LLC v. U.S. Fish & Wildlife Serv., 616

 F.3d 612, 615 (6th Cir.2010)). “Motions under Rule 59(e) must either clearly

 establish a manifest error of law or must present newly discovered evidence.”

 Id.” Thorpe v. Breathitt Cty. Bd. of Educ., 8 F. Supp. 3d 932, 948 (E.D. Ky.

 2014).

       II.   Motion for Summary Disposition

       The moving party has the initial burden of demonstrating an absence

 of evidence to support the non-moving party's case. See Celotex Corp. v.

 Catrett, 477 U.S. 317, 325 (1986). If the moving party carries this burden,

 the party opposing the motion “must come forward with specific facts

 showing that there is a genuine issue for trial.” Matsushita, 475 U.S. at 587.

 The Court must determine whether the evidence presents a sufficient factual


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 disagreement to require submission of the challenged claims to a jury or

 whether the evidence is so one-sided that the moving party must prevail as

 a matter of law. Anderson, 477 U.S. at 252 (“[t]he mere existence of a scintilla

 of evidence in support of the plaintiff's position will be insufficient; there must

 be evidence on which the jury could reasonably find for the plaintiff”).

       When deciding a motion for summary disposition the courts have

 stated that “Credibility determinations, the weighing of the evidence, and the

 drawing of legitimate inferences from the facts are jury functions, not those

 of a judge.” Anderson, 477 U.S. at 255. The courts further state that “The

 evidence of the nonmovant is to be believed, and all justifiable inferences

 are to be drawn in his favor.” Id (quoting Adickes, 398 U.S., at 158-159.).

                                    ANALYSIS

       In the instant matter, the email disclosed by Defendant Clark during

 the deposition in the Department of Justices’ companion case provides

 evidence by which a jury could determine that Defendant Clark was acting

 pursuant to a scheme or other plan to disenfranchise Muslims, more

 specifically Plaintiff in this matter, from their constitutionally protected rights

 to freedom of religion and equal protection under the law. The email along

 with his choice in counsel whose mission it is to disenfranchise Muslims is a




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 clear indication of Defendant Clark’s actual bias against Islam and Muslims,

 namely Adams Community Center.

       The email is clear evidence that he has been discussing his

 Islamophobic feelings with the author of the email, and indicates that he is

 being congratulated for working hard to keep a “beach-head” (i.e. Mosque)

 from ever being built and that he is being encouraged to keep up the work of

 ensuring that Muslims do not have a place of worship in the city of Troy.

       This evidence was sought during the discovery process, and should

 have been turned over, however it was not, therefore it was not available at

 the time that the Defendant filed his motion, nor was it available at the time

 that Plaintiff was required to respond. As such, this email evidence falls

 squarely within the scope of Local Rule 7.1 as being a “palpable defect by

 which the court and the parties and other persons entitled to be heard on the

 motion have been misled.” Furthermore, introduction of this email evidence,

 falls squarely within the scope of the applicable case law as being “newly

 discovered.”

       As such, this case is ripe for reconsideration as it pertains to Defendant

 Glenn Clark. This is especially true since Plaintiff is not asking for summary

 disposition on this matter and bears no burden of proof in Defendant’s Motion

 for Summary Disposition. Furthermore, the presumption of evidence weighs


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 in favor of Plaintiff as the non-moving party, and Plaintiff is only required to

 make a showing that there is evidence such that a reasonable juror could

 find in favor of Plaintiff.

                                  CONCLUSION

       Since there is newly discovered evidence that Defendant Clark holds

 bigoted, biased and Islamophobic views and sought to violate Plaintiff’s

 constitutional rights to free exercise and equal protection under the law by

 acting on his bigoted views in an attempt to keep a Muslim place of worship

 from being established in the City of Troy, Defendant Clark is not entitled to

 judgement as a matter of law, and this honorable Court should reconsider its

 August 26, 2020 Opinion and Order as it relates to Glenn Clark only.

    WHEREFORE, Plaintiff respectfully prays this Honorable Court:

       A. Reconsider its Order on Defendant Glenn Clark’s Motion for

            Summary Dispostion;

       B.     Issue an Order that Defendant Glenn Clark shall be required to

  Defend this instant Matter;

       C.     Grant Any further relief this Court deems just and equitable.




 Dated: September 9, 2020                         Respectfully Submitted,

                                                  CAIR-MI LEGAL FUND
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                                                /s/ Amy V. Doukoure
                                                Amy V. Doukoure (P80461)
                                                CAIR-MI Legal Fund
                                                Attorney for Plaintiff




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                            CERTIFICATE OF SERVICE
 I hereby certify that on September 9, 2020, I electronically filed the foregoing paper
 with the Clerk of Court using the ECF filing system which will forward notification
 of such filing to the following: all counsel of record.

                                               /s/ Amy V. Doukoure
                                               Amy V. Doukoure (P80461)
                                               CAIR-MI Legal Fund
                                               Attorney for Plaintiff




                                           1
